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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS

John Doe,                           )
                                    )
          Plaintiff                 )
     v.                             )      Case No. 18-cv-7429
                                    )
The University of Chicago and       )      Judge Virginia M. Kendall
Jane Roe,                           )
                                    )
          Defendants.               )


          PLAINTIFF’S BRIEF IN OPPOSITION TO DEFENDANT
           UNIVERSITY OF CHICAGO’S MOTION TO DISMISS
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                                 INTRODUCTION

      Before we set forth the relevant facts, two explanatory points are in order.

First, the facts set forth below are organized around the decisions the University

made on Roe’s claim against Doe and Doe’s claim against Roe. Organizing them this

way facilitates consideration of two claims at the heart of Doe’s complaint: (1) that

the decision against Doe is clearly erroneous, and (2) that the difference in the two

decisions is great enough to raise an inference that it is attributable to gender.

Second, the University attached the entire record of its proceedings as an exhibit to

its brief, and some of our cites are to that document rather than the complaint.

      The University’s brief describes the timeframe and course of the relationship

between Doe and Roe, and we dispense with covering the same ground here.

Instead, we proceed directly to the particulars of the two Committee decisions and

the flaws in them. To the extent that this statement is argumentative, it should be

read as reflecting what the complaint alleges.

                                      FACTS

                            Roe’s claims against Doe.

      The Committee’s decision on Roe’s claims is set out in four paragraphs.

Paragraph 1 (physical abuse)

      First, “the Committee concluded there were instances of physical abuse

committed by [Doe] during the relationship. These included instances of choking

[Roe], spitting on [Roe], and engaging in behavior that caused bruising.” Cplt. Ex. B

¶3. The spitting was part of the Costa Rica incident and is covered there. Roe did



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accuse Doe of choking her once. University MTD, Ex. 5, p.17. 1 Doe denied having

done so. Id. p 41. Roe did not say when this supposedly occurred and she did not

mention it to anyone, file a report or charges of any kind, or stop dating Doe

thereafter.

       Roe did accuse Doe of being overly physical at times and bruising her body.

Record, p.16. Doe denied causing any bruises and submitted text messages in which

Roe good-naturedly acknowledged that bruising was caused by her own clumsiness.

Id. pp.101-02. The notes of the University’s investigator (Mr. Inabinet) say that:

       at one point during the Autumn Quarter, Roe’s roommate (witness 18) told
       her academic advisor about bruises she had seen on Roe. At the time, Roe did
       not see the bruises as an issue but has since realized there were a lot of
       things wrong with her relationship with Doe. Id. p 4.

In her statement, witness 18 said only that she asked Roe about the bruises “and

Roe attributed them to rough sex. Roe did not say much more about it.” Id. p.70.

       Next, the Committee wrote that “throughout the relationship, there seemed

to be an increase in the severity of the actions, which culminated in a fight in Costa

Rica.” Cplt. Ex. B, ¶3. Roe did not claim that there was an “increase in the severity”

of Doe’s actions and the Committee did not explain what it meant by that or cite

any supporting evidence.

       The Committee then turned to the incident that took place while Doe was in

Costa Rica over the winter holiday with Roe, her mother and brother. In finding

Doe guilty based in part on that incident, the Committee described it as follows:



1Exhibit 5 to the University’s Motion to Dismiss is the entire record of the underlying proceeding.
Going forward, we cite it as “Record.”

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      [Doe] initiated a fight with [Roe] by slapping her back with shaving cream
      while [Roe] was in the shower. This resulted in physical contact between
      [Doe] and [Roe], and ended when [Doe] deliberately spit on [Roe]. Cplt. Ex. B,
      ¶3.

In finding that Doe “initiated a fight” with Roe by putting shaving cream on her

back while she was in the shower, the Committee ignored undisputed evidence that

Doe and Roe often engaged in pranks involving physical contact; in Roe’s own

words, “we liked to mess around with each other, play pranks on each other, and

sometimes this would get physical in a mutual and joking way.” Record, p.15. Roe

herself brought up a previous instance in which Doe put shaving cream on her:

      [Doe] also included a picture of the first time he put shaving cream on me,
      and [he] said I thought it was funny. This is true, I thought it was really
      funny – but it was also situational, and I wasn’t upset about it because he
      hadn’t hurt me while doing it and did it right before I was about to get in the
      shower so I could easily wash it off. Id. p.92.

Doe and Roe had been arguing in Costa Rica, but Roe did not claim that Doe was

trying to “initiate a fight” when he put shaving cream on her back or that he hurt

her, even slightly, in doing so; she said only that it was “extremely unnecessary.” Id.

p.21. And, clearly, Doe was only trying to break the tension between them by doing

something that Roe had in the past found to be “really funny” (this time when she

was already in the shower). Thus, the Committee’s finding that Doe was “initiating

a fight” with Roe badly mischaracterizes the evidence.

      Roe’s response to the shaving cream was to punch Doe in the face and grab

his arm and dig her fingernails into it hard enough to draw blood. Record, p.36.

There is no dispute about these facts, as Doe submitted pictures of his black eye and

bleeding arm, id., pp.37-38, and Roe admitted both actions, claiming only that her

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hit to Doe’s face was more a slap than a punch and blaming him for the blood by

saying he shouldn’t have pulled his arm away while she was digging her fingernails

into it. Id. p.21. Thus, the Committee blatantly escalated its bias by describing this

second part of the incident as “physical contact between [Doe] and [Roe],” a

characterization that: (a) avoids attributing responsibility for that contact to Roe;

(b) ignores the undisputed fact that Roe acted deliberately; and (c) buries Roe’s

serious   assault   in   generic   language       (“physical   contact”).   The   Committee

immediately confirmed its bias by describing the third and final aspect of this

incident as one in which “[Doe] deliberately spit on [Roe].”

Paragraph 2 (hostile environment)

      In this paragraph, the Committee

      concluded that [Doe] continued to find ways to insert himself into the life of
      [Roe] for no other reason but to cause her emotional distress [by]
      intentionally engaging in behavior in front of [Roe] while on a group trip in
      Cancun for spring break, and attending an Anchor Slam event hosted by
      [Roe’s] sorority. All of these actions were committed after a no-contact
      directive had been issued by the University. Cplt. Ex. B, ¶4.

The Committee did not have the no-contact directive, so it could not have found that

it was violated. And Roe admits that while she and Doe were in Cancun (with many

other students) “no direct contact was made.” Record, p.27. In addition: (a) when the

directive was issued, Doe had made non-refundable down payments for travel and

lodging that he would have lost if he had canceled, and (b) several other students

who were on the trip said that Doe conspicuously tried to avoid interacting with Roe

while they were all in Cancun. Id. pp.44, 49 and 75.




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      With respect to the Anchor Slam event, the entire evidence on that matter

consisted of a statement by witness 9 and a comment on that statement by Roe.

Witness 9’s statement is as follows:

      Delta Gamma hosts an event called Anger Slam. The pre-event was held on
      May 2, 2018. It is very obvious that it is a DG event. Members wear t-shirts
      and there are signs everywhere. [Doe] showed up at the pre-event. Some of
      the members of DG asked their sorority president if she could ask [Doe] to
      leave. The president did go up to [Doe] and asked him to leave and told him
      he could wait outside while someone got his food and he left. The event was
      held in the McCormick Lounge in Reynolds Club. [Doe] only went to the pre-
      event but not to the actual Anger Slam event. Record, p.57, ¶5.

And this is Roe’s statement:

      In [witness 9’s] statement, an event put on by Delta Gamma “Anger Slam” is
      mentioned. This event is actually called “Anchor Slam” and is our yearly
      philanthropy event to raise money for Service for Sight. We had a pre-event
      to raise awareness for it, and [Doe] attempted to come into it. As soon as he
      entered McCormick Lounge, my friends saw and ran over to warn me. I had
      previously told them that every time I see him I freak out, and they wanted
      to make sure I was okay. I looked over and saw him, and had a small panic
      attack. My friends had to sit me down in a corner while I stopped crying and
      got my breath back. They had also asked the president of the sorority to ask
      him to leave, as he was making me extremely uncomfortable. Id., p.95, ¶1.

Paragraph 3 (sexual activity)

      In this paragraph, the Committee wrote the following:

      Lastly, [Doe] engaged in non-consensual sexual activity on multiple occasions
      with [Roe] during the course of their relationship, and on March 9, 2018 after
      the dating relationship had ended. During the relationship, [Doe] engaged in
      coercive behavior to get [Roe] to participate in sexual activity after [Roe]
      clearly expressed a desire not to participate, and [Doe] engaged in sexual
      activity with [Roe] while she was incapacitated. The coercive behavior
      included shaming, name calling, and repeatedly asking for sex after being
      told no. On at least one occasion, [Roe] awoke to [Doe] attempting to
      penetrate her vagina with his penis. University policy clearly states that a
      person who is asleep is deemed to be incapacitated and cannot consent to
      sexual activity; thus this behavior is a direct violation of University policy.
      Though [Doe] stopped the activity after [Roe] awoke and told [him] to stop,

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      this is further evidence of [Doe’s] lack of consideration for [Roe] during their
      relationship. Cplt., Ex. B, ¶5.

The March 9 incident is the subject of the entire next paragraph of the Committee’s

decision, so we temporarily defer addressing it.

      With respect to the other issues mentioned in this paragraph, the complaint

alleges that the Committee’s first and most important finding in this paragraph—

that Doe “engaged in non-consensual sexual activity on multiple occasions with Roe

during the course of the relationship”—ignores so many of Roe’s direct admissions

to the contrary that it can only be seen as the product of bias.

      In her rebuttal statement Roe acknowledged a number of instances of sexual

intercourse between her and Doe after they returned to campus for the winter 2018

quarter (following the Costa Rica incident). Specifically, she admitted that:

      ●     “the time when we were seeing each other [after they got back to
      campus] started on Wednesday, January 24, 2018 at Bar Night.” Roe then
      tendered text messages with a friend from home in which she admitted that:
      (a) she “hooked up” with Doe that night; (b) the sex was “good;” (c) going
      forward “I might just use him for sex when I want it and have no emotional
      connection;” and (d) she planned to lie to her school friends about all of this
      because she feared they would not be happy about it. Record, p.87.

      ●      Next, Roe’s roommate had a boy over and she accepted Doe’s invitation
      to stay at his apartment so her roommate would have privacy. She texted her
      friend that she slept on Doe’s couch, but admitted that “what I said in these
      messages is not the truth, and I just didn’t want my friends to know what
      was going on. I did sleep in [Doe’s] bed and we had consensual sex.” Id., p.88.

      ●      Next, Doe invited Roe over on January 28th when she was starting to
      feel guilty about lying to her friends. Doe told her to turn off the location
      finder on her phone so they wouldn’t know she was there and she admits that
      “if we did have sex that night, it would have been consensual.” Id.

      ●     Next, on February 4th after Doe took Roe to dinner, she says that he
      pressured her to have sex, which she did not want to do because she had

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      homework to get to and that “we did have sex, and it was consensual but
      coerced. I did not sleep over, as I had work to do that night.” Id., pp.88-89.

      ●     Next, Roe saw Doe on February 8th before he went to New Orleans for
      Mardi Gras. She admitted that “assuming we had sex then, it would have
      been consensual.” Id., p.89.

      ●     Roe summarized these events by admitting that Doe was correct in
      saying she “got what she wanted.” While she was upset about what happened
      in Costa Rica, “in a way, I was just letting him buy me food and was having
      sex with him to satisfy my own desires, as I knew he would be willing.” Id.

After February 8th, the relationship between Doe and Roe took a turn for the worse,

and she does not claim that they had sex again until March 9th. Roe did, however,

voluntarily return to the question of consent at the end of her responsive statement,

and made another clear and significant admission:

      I will say once again that each time we had sex post-relationship [i.e., after
      the holiday trip to Costa Rica] was consensual, and the only times of sexual
      misconduct (in any sense) that I would like to bring attention to happened a
      few times during our relationship, with the most serious violation occurring
      on March 9. Id. p.98.

She did not say what the incidents other than the one on March 9 were, when they

took place, or what Doe did wrong on those occasions. And while the Committee

criticized Doe for “name-calling” and “shaming” Roe into sex, it did not criticize Roe

for lying to Doe by not telling him that she was just “us[ing] him for sex when I

want it and hav[ing] no emotional connection.”

Paragraph 4 (the March 9 sexual intercourse)

      The sexual intercourse between Doe and Roe on March 9 was addressed at

great length by both parties. The Committee viewed the sole issue as whether Roe




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was sober enough to consent to sex and if not whether Doe should have known that.

Cplt., Ex. B, ¶6.

       Roe claims that she got very drunk and remembers nothing of the evening,

and that it should have been obvious to Doe that she was not sufficiently sober to

consent to sex. Record, p.25. Doe does not dispute that he and Roe drank early in

the evening but insisted they were both sober when they had sex at 5 o’clock in the

morning. Id., p.40. 2 The Committee essentially accepted Roe’s statement that since

she claims not to remember anything about the sexual activity, she must not have

been able to consent and Doe should have known that. In doing so, however, the

Committee first ignored Roe’s admission that she does indeed have recollections of

the evening, at least of things make Doe look bad. For example, in her initial

statement, she remembered “trying to stand up and saying ‘I want to go home’ and

[Doe] responding ‘you can’t leave, I haven’t fucked you yet’ and pulling me back onto

the bed.” Id. p.24. Then, in her second statement, she recalled that “[Doe] did not

offer for me to stay the night—he threw my clothes at me and said ‘you should go’ at

around 6:00 am.” Id. p.92. Thus, the Committee’s acceptance of Roe’s claim that she

remembers nothing would be dubious even if that was all it had to go on.

       But the far bigger problem is that there was a third-party witness who

testified directly and at length to the central issue as the Committee framed it.

Witness 7, a friend of both Doe and Roe, said the following:


2 The University’s brief misstates paragraph 42 of the complaint on a point relevant to this issue,
claiming that it alleges that a witness saw Roe “drink a bottle of wine with two other people, shotgun
three beers, drink a half a solo cup of whiskey and possibly drink more.” University Brf. at 2. In fact,
paragraph 42 alleges that this is what Doe drank, not what Roe drank.

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      [Witness 7] was aware that [Roe] and [Doe] broke-up while they were in
      Costa Rica. [Witness 7] said [Roe] and [Doe] continued to hook-up post the
      break-up and it seemed to be mutual. [Witness 7] says she was aware of the
      last time [Roe] and [Doe] hooked-up because [Roe] facetimed her while [Roe]
      was with [Doe]. On March 9, [witness 7] and [Doe] went to a formal dance
      together and were at an after party where [Roe] was present. After the party,
      [Doe] and [Roe] went back to [Doe’s] apartment. [Witness 7] said [Roe] was
      snapchatting videos from [Doe’s] apartment while she was there. [Witness 7]
      said she saw the videos and was told about them by [witness 2], who had also
      seen them. At around 3 A.M. on March 10, [Roe] facetimed [witness 7] while
      [Roe] was in [Doe’s] bedroom. [Witness 7] was able to see both [Roe] and
      [Doe] during the facetime and they both had on minimal clothing. The
      conversation lasted for about an hour, until they said they were disconnecting
      to go angry fuck. [Witness 7] said by all appearances, everything seemed
      consensual.

      When asked about people’s state of mind, related to alcohol consumption from
      the night of March 9, [witness 7] said everyone had been drinking. [Witness
      7] said she had a couple of beers at the formal and was fine. [Doe] seemed
      fine, too, and [witness 7] was not even sure if [Doe] could get drunk. [Witness
      7] said it was hard for her to tell when guys are drunk. [Witness 7] did not
      see [Roe] drink any, and said she did not seem to be extremely drunk.
      [Witness 7] said she has seen [Roe] blackout drunk and she did not seem that
      way. Id., p.55.

This statement completely corroborates Doe’s version on all the important details of

that evening and is highly credible, as witness 7 was a friend of both Doe and Roe,

knew about their relationship, knew how they acted when they had been drinking,

and had been with them both earlier in the evening. Also, because she was on a

Facetime call in which Doe and Roe told her they were about to have sex (and were

in bed with most of their clothes off), witness 7 was directly attuned to the issue of

consent. And because the call lasted an hour and was a Facetime call in which she

could both see and talk to Doe and Roe, witness 7 clearly had a sound basis for

judging Roe’s ability to consent. Finally, her opinion on that issue was not vague or

qualified. She said that “by all appearances, everything seemed consensual.”

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      And that is not the only independent evidence the Committee ignored. Two

other students also addressed that evening. Witness 2 said the following:

      That night of the party [March 9] was only the second time [witness 2] had
      hung out with [Doe] or [Roe]. To [witness 2] it seemed that [Roe] and [Doe]
      were very cordial to one another and on good terms for being ex’s. They both
      equally seemed to want to spend the night together that night. Id., p.48.

And witness 19 said this:

      [Witness 19] was also at a house party (the Cove party) the night the incident
      happened between [Doe] and [Roe]. He stated that [Roe] was reasonably
      drunk. She was perfectly functional, not slurring words, but it was clear she
      had a bit to drink. By knowing [Roe], he was able to pick up on her behavior
      and could tell she had had a bit to drink. That was around 10:30 PM or 11
      PM. [Roe] did not speak to [Doe] at the party. About an hour or two later,
      [witness 18] told [witness 19] that [Doe] and [Roe] had left together. Id., p.72.

The Committee ignored all of the independent third-party testimony supporting

Doe’s version of what happened on March 9 and simply accepted Roe’s version.

                            Doe’s claims against Roe

      Doe’s claims against Roe centered on two incidents.

The Costa Rica incident

      Doe complained about the Costa Rica incident in which Roe punched (or

slapped) him in the face hard enough to give him a black eye, then scratched his

arm hard enough to draw blood. The Committee rejected this claim because:

      the physical response of [Roe] was a direct reaction to physical behavior
      initiated by [Doe] and was an isolated event during the course of the
      relationship. Cplt., Ex. C, ¶3.

Regarding the first point, the Committee used the fact that Doe spit on Roe against

him even though it was also “a direct reaction to physical behavior initiated by Roe.”

Moreover, Roe was reacting to a prank of Doe’s that she had previously found to be

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“really funny” while Doe was reacting to a serious assault. Thus, the finding that

Roe’s conduct was a defensible “reaction” but Doe’s was not is patent bias.

      The Committee’s comment that Roe’s assault was excusable because it was

an “isolated event” is just as troubling. Does the University have a “one-punch” rule

that allows its students one free punch to the face of another student? And if it does,

why is Doe not excused from the single instance in which he spit on Roe?

      The Committee went on to say that Roe’s actions “came at the end of the

relationship with [Doe] where [Roe] had been physically and emotionally abused by

[Doe].” This statement is wrong as, by Roe’s own admission, she and Doe had sexual

intercourse many times after they returned to campus in January, each of which

(except for March 9) she admits were consensual. But even if the statement was

true, why does the timing of the Costa Rica incident matter for Doe but not Roe?

      The Committee concluded its disposition of this part of Doe’s claim by saying

that “this fight seemed to be the culmination of events between [Roe] and [Doe].”

That statement isn’t true and the Committee did not explain why it was a basis on

which to reject Doe’s claim.



The penis incident

      The Committee also exhibited bias in disposing of the second incident

complained of by Doe:

      I had sustained an injury during sex and had a cut on my foreskin. It was
      incredibly painful and I could not have sex for about a week. When I told
      [Roe] this she wanted me to show her. I didn’t feel comfortable showing her
      and I was embarrassed but she kept trying to pull my pants down to see. At

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      first, I treated it as a game and she chased me around the apartment. After
      about 5 minutes I told her very seriously to stop yet she persisted for another
      10 minutes. She said she would stop but after a little while she would try to
      pull my pants down when I wasn’t on guard. Eventually I gave up and
      showed her because she would not stop no matter what. I was bothered by
      this but decided to let it go because I liked her so much and things were going
      so well. Record, p.100.

Roe does not dispute any of these facts, except to claim: (a) that she wanted to see

Doe’s penis because she feared he had contracted a sexually-transmitted disease;

and (b) that she never did see it. Id., p.97. Thus, Roe conceded that the incident took

place, and Doe’s version of its key aspects is unrebutted.

      Faced with this evidence, the Committee wrote that it had:

      received conflicting, but similar versions of the event from [Roe] and [Doe]. In
      evaluating the information received, the Committee unanimously concluded
      that the behavior described in both scenarios would not rise to the level of a
      policy violation. Though [Roe] did ask to see [Doe’s] penis, the request did not
      cross the threshold of being severe or pervasive, and according to [Roe], [Doe]
      thought the actions of [Roe] were cute. Cplt., Ex. C, ¶4.

The Committee did not explain why it found that Roe’s conduct was not severe or

pervasive in light of the undisputed facts that Roe: (a) did not just ask to see Doe’s

penis, she chased him around trying to pull down his pants; (b) she continued doing

that after Doe asked her “very seriously” to stop; and (c) when Roe was not initially

successful in pulling down Doe’s pants, she waited a while, then tried to sneak up

on him and pull them down when he wasn’t paying attention. Moreover, the

Committee criticized Doe for “engag[ing] in coercive behavior to get [Roe] to

participate in sexual activity after [Roe] clearly expressed a desire not to

participate,” while excusing Roe’s extensive efforts to pull down Doe’s pants even

after he clearly and seriously asked her not to do so.

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        Finally, the last word of the Committee’s decision on this issue is telling. Doe

did not say that Roe’s conduct was “cute.” Just the opposite. Nor did Roe claim in

her statement that Doe found her conduct “cute.” That word came from the pen of

Mr. Inabinet, who wrote the following in his initial summary:

        As to the reported incident with [Doe’s] penis, [Roe] said she did not want to
        invalidate Doe’s thoughts and feelings about the incident. [Roe] said that the
        incident was more situational and that [Doe] said he had bumps on his penis.
        [Roe] wanted to see it because she was more concerned by what it could have
        been. [Roe] said she has not thought about the incident since it happened and
        at the time, [Doe] told her he thought what she was doing was cute. Record,
        p.7.

It is one thing to choose between two conflicting versions of an event, but something

entirely different to do what the Committee did here: ignore essentially undisputed

testimony and credit instead its investigator’s personal assessment of the evidence.

                                     ARGUMENT

I.      The complaint states a cause of action under Title IX.

        Doe alleges two theories of recovery under Title IX: erroneous outcome and

selective enforcement. To plead the former, he must allege: (1) facts sufficient to

cast doubt on the accuracy of the outcome of the disciplinary proceeding and (2) a

connection between the flawed outcome and gender bias. Yusuf v. Vassar Coll., 35

F.3d 709, 715 (2d Cir. 1994). To plead the latter, he must allege “that, regardless of

[his] guilt or innocence, the severity of the penalty and/or the decision to initiate the

proceeding was affected by [his] gender.” Id. See also, Doe v. Columbia College

Chicago, 299 F.Supp.3d 939, 950 (N.D. Ill. 2017). In making these assessments, the

Court must keep in mind that “Doe’s allegations do not have to give rise to the most



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plausible explanation—they just have to give rise to one of them.” Doe v. Baum, 903

F.3d 575, 587 (6th Cir. 2018) (emphasis in original).

       A)    Erroneous Outcome

       The burden of pleading enough facts to cast doubt on the accuracy of the

outcome of a disciplinary proceeding “is not heavy,” and may focus on substantive or

procedural shortcomings. Yusuf, supra, 35 F.3d at 716. In this case, there are both.

       Substantively, there are more than enough facts to call the outcome into

question. Specifically, the Committee:

   •   aggressively slanted the facts in favor of Roe and against Doe with respect to
       the Costa Rica incident that was raised by both parties;

   •   ignored the third-party testimony, all of which supported Doe, with respect to
       the March 9th encounter that was central to Roe’s claim;

   •   accepted Roe’s statement that she remembered nothing about the events of
       March 9th despite her contradictory statement that she remembers the parts
       of the evening that make Doe look bad;

   •   decided that Roe was too drunk to consent to sex on March 9th but did not
       even consider whether Doe was also too drunk to consent even though it is
       undisputed that both of them had been drinking;

   •   found that Doe pressured Roe into non-consensual sex even though Roe
       repeatedly conceded that (other than on March 9th) the sex was consensual;

   •   rejected Doe’s complaint about the penis incident by ignoring the undisputed
       facts and adopting instead the personal assessment of the University’s
       investigator (Mr. Inabinet);

   •   criticized Doe for violating a no-contact directive that it did not have and
       insinuated that he violated that directive by “inserting himself into Roe’s life”
       in two instances where he clearly did not do so;

   •   criticized Doe for “name-calling” and “shaming” Roe into sex, but ignored the
       fact that Roe lied to Doe by not telling him that she was “us[ing] him for sex
       when I want it and hav[ing] no emotional connection;” and

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   •   made several comments about the relationship between Doe and Roe that
       were either indisputably wrong or irrelevant to the issues.

These are precisely the kinds of things that can be used to show that an outcome

was erroneous. See, e.g., Doe v. Columbia Univ., 831 F.3d 46, 57-58 (2nd Cir. 2016)

(holding that “[w]hen the evidence substantially favors one party’s version of a

disputed matter but an evaluator forms a conclusion in favor of the other side

(without an apparent reason based in the evidence), it is plausible to infer (although

by no means necessarily correct) that the evaluator has been influenced by bias,”

and that bias can be tied to the involvement of an school administrator who, while

not a decision-maker, had significant influence); Doe v. Columbia College Chicago,

299 F.Supp.3d 939, 954-55 (N.D. Ill. 2017) (finding of sexual assault can plausibly

be found erroneous based on “students’ affidavits indicating that Roe did not appear

incapacitated, Roe’s amicable text messages to Doe the next morning, and Doe’s

own testimony that Roe consented to their interaction.”); Doe v. Syracuse Univ., 341

F.Supp.3d 125, 138 (N.D.N.Y. 2018) (University ignored that “Roe appeared to

utilize the disciplinary process as a means to punish Doe by alleging that he

violated the No Contact Order [and that] the investigation revealed that both Doe

and Roe were highly intoxicated but applied the presumption of the inability to

knowingly consent to sexual intercourse only to Roe;” “failed to examine many of the

blatant contradictions in Jane Roe's statements;” and “chose to believe Roe's

description of events in Doe's room even though Roe indicated that she had very

little memory of the Incident.”).



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      Procedurally, the complaint alleges that Doe was denied a large number of

standard procedural safeguards designed to ensure the fairness of the proceedings

and that this contributed to the erroneous outcome. Cplt., ¶205.

      The second element of an erroneous outcome claim is connecting that

outcome to a bias attributable to gender. Yusuf, 35 F.3d at 715. The McDonnell

Douglas framework applies to allegations of gender bias under Title IX. Martin v. S.

Illinois Univ. Sch. of Med., 2017 WL 4780613, at *10 (C.D. Ill.); Hayden ex rel. A.H.

v. Greensburg Cmty. Sch. Corp., 743 F.3d 569, 586 (7th Cir. 2014) (Manion opinion);

Doe v. Columbia Univ., 831 F.3d 46, 56 (2d Cir. 2016). In this case, an inference of

bias can be drawn from two distinct sources.

      First, it can be based on the fact that Doe was treated differently from a

similarly situated member of the opposite sex (Roe). Doe v. Brown Univ., 327

F.Supp.3d 397, 412-13 (D.R.I. 2018). There is considerable evidence that the

University aggressively slanted its decisions on the competing claims that Doe and

Roe made against one another strongly in favor of the female student

      Second, the complaint alleges that the University harbored a pro-female bias

as a result of intense criticism it faced from the federal government and the local

community for turning a blind eye to sexual assault claims made by female students

against male students. This pressure was a direct result of a gender discrimination

complaint filed with the U.S. Department of Education by a female student alleging

that the University’s sexual assault policies discriminated against women. This

complaint triggered public criticism in numerous newspaper articles and a federal



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investigation. In addition, the Department of Education sent the University a “Dear

Colleague” letter, pressuring it to adopt new sexual assault guidelines or risk losing

millions of dollars in federal funding. Cplt., ¶¶173-89.

      This bias is not based on a conclusory allegation that the “Dear Colleague”

letter alone induced the University to discriminate against males in sexual-assault

investigations in order to preserve federal funding. Rather, Doe alleges specific

community and government pressure of the kind that has been found sufficient to

support an inference of gender bias. Doe v. Columbia Univ., 831 F.3d 46, 58 (2d Cir.

2016) (bias can be inferred from fact that, prior to disciplinary hearing, “there was

substantial criticism of the University, both in the student body and in the public

media, accusing the University of not taking seriously complaints of female

students alleging sexual assault by male students.”); Doe v. Syracuse Univ., 341

F.Supp.3d 125, 138–39 (N.D.N.Y. 2018) (allowing inference of bias when, in addition

to the “Dear Colleague” letter, the university faced a federal investigation into its

sexual assault policies); Doe v. Lynn Univ., Inc., 235 F.Supp.3d 1336, 1340-42 (S.D.

Fla. 2017) (allowing inference of bias when, on top of the “Dear Colleague” letter,

public media reports had attacked university’s handling of sexual assault claims).

      B)     Selective Enforcement

      A selective enforcement claim asserts that regardless of the student's guilt or

innocence, the severity of the penalty or the decision to initiate the proceeding was

affected by the student's gender. Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir.

1994). “To support a claim of selective enforcement, a male plaintiff must



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demonstrate that a female was in circumstances sufficiently similar to his own and

was treated more favorably by the University.” Xiaolu Peter Yu, 97 F.Supp.3d 448,

480 (S.D.N.Y. 2015). What was said above with respect to the erroneous outcome

claim is sufficient to demonstrate that the selective enforcement claim is also

adequately pled here. Doe was expelled from the university on the eve of his

graduation, while Roe received no punishment at all.

II.      The complaint adequately alleges a breach of contract or, in the
         alternative, promissory estoppel.

         In Illinois, a contract exists between a university and its students, the terms

of which are set forth in the school’s catalogs and manuals. Johnson v. Lincoln

Christian Coll., 150 Ill.App.3d 733, 739 (1986). As part of this contract a university

“may not act maliciously or in bad faith by arbitrarily and capriciously refusing to

award a degree to a student who fulfills its degree requirements.” Tanner v. Bd. of

Trustees of Univ. of Illinois, 48 Ill.App.3d 680, 680-81 (1977). The University argues

that a disclaimer in its student handbook eliminates its contractual obligations, but

reading the disclaimer that broadly would render it unenforceable. O'Hara v.

Ahlgren, Blumenfeld & Kempster, 127 Ill.2d 333, 341 (1989). Because Illinois law

establishes a contractual relationship between a university and its students, any

attempt to disclaim that relationship is unenforceable. Doe v. Belmont Univ., 334

F.Supp.3d 877, 890 (M.D. Tenn. 2018); Doe v. Colgate Univ., 2017 WL 4990629, at

*19 (N.D.N.Y.), aff'd, 2019 WL 190515 (2d Cir.). And even if the disclaimer could

bar the student manual from being read as a written contract, it would not prevent

the Court from using it to determine the terms of the implied contract between the

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University and its students. Id. Here, the complaint contains many allegations

demonstrating that the University acted in bad faith by withholding Doe’s degree.

      First, the University’s failure to afford Doe the procedural protections in the

student manual is arbitrary and capricious conduct. Liu v. Nw. Univ., 78 F.Supp.3d

839, 848 (N.D. Ill. 2015). Second, the University’s disparate treatment of the claims

made by Doe and Roe is also evidence of arbitrary and capricious conduct. Diperna

v. Chicago Sch. of Prof'l Psychology, 2015 WL 361902, at *3 (N.D. Ill.).

      Third, the University’s failure to apply its own definition of consent is

arbitrary conduct. King v. DePauw Univ., 2014 WL 4197507, at *12 (S.D. Ind.). In

this case, the university’s definition of consent requires it to evaluate whether a

reasonable third party would have known an individual was too incapacitated to

consent. Cplt., ¶143. The University completely ignored the unconverted evidence of

three neutral third party witnesses and based its decision entirely on Roe’s

contradictory, subjective statement that (with selective exceptions) she did not

remember what happened on March 9th and so could not have consented to sex.

       Fourth, the University’s failure to provide Doe with specific information

about the alleged conduct of his that it was investigating or the specific violations

with which he was being charged is evidence that it what acting arbitrarily and

capriciously. Doe v. Univ. of Notre Dame, 2017 WL 1836939, at *9 (N.D. Ind.,

vacated by consent of the parties, 2017 WL 7661416.

      Fifth, the University’s use of inconsequential character evidence as well as its

failure to properly investigate Roe’s bias and credibility violated a specific



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contractual promise that character evidence would not be considered. Instead, the

material submitted to the Committee was rife with character evidence that painted

Doe in an unflattering light. Additionally, a member of the hearing panel who had

dated Doe’s friends and had a pre-hearing bias against him directed him to address

his sexual history with another student even though such evidence is expressly

barred. Cplt., ¶¶97, 104; University MTD, Ex. 2, p.119, ¶1. 3

          Sixth, the University failed to consider evidence of Roe’s ulterior motive for

making accusations against Doe, specifically, the possibility that those accusations

were an outgrowth of her (admitted) lying to her friends about her post-Costa Rica

sexual relationship with Doe. Doe v. Univ. of Notre Dame, 2017 WL 1836939, at *10.

          Finally, the University’s failure to provide basic procedural due process

violated its promise to conduct a fair hearing. Specifically, Doe inability to have

counsel, confront his accuser, call or cross-examine witnesses, and the use of the

preponderance of evidence standard, combined to deny him a fair hearing. Doe v.

Brandeis Univ., 177 F.Supp.3d 561, 603-607 (D. Mass. 2016). Accordingly, more

than enough facts are alleged to support the allegation that the University’s

withholding of Doe’s degree was a breach of contract. 4

III.      Doe adequately alleges Fifth and Fourteenth Amendment claims.




3   Exhibit 2 to the University’s motion to dismiss is its entire 2017-2018 Student Manual.

  Doe pleads an alternative claim for promissory estoppel if the Court concludes that there is no
4

contract. This count is based on the assertion that the university unambiguously promised Doe that
it would abide by the procedures in the student manual in its investigation. This unambiguous
promise differentiates this case from Doe v. Univ. of Chicago, 2017 WL 4163960 (N.D. Ill.).

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      The University seeks to dismiss Doe’s Fifth and Fourteenth Amendment

claims on two grounds. First, it argues that “corporate entities like the University

are generally exempt from liability under section 1983 and the Fifth Amendment.”

Second, it argues that Doe does not have a valid basis for his claims because “the

University is a private entity, not an arm of the state or federal government.”

(University Brf. at 11). Neither argument has merit.

      A corporate entity acting under the color of state law is directly liable under

the Fourteenth Amendment (pursuant to 42 U.S.C. §1983) for injuries caused by its

unconstitutional policy, customs or practices. Shields v. Illinois Dept. of Corr., 746

F.3d 782, 789 (7th Cir. 2014). Doe’s injuries here are a direct outgrowth of the

University’s policies, customs and practices that denied him his due process rights.

Prohibiting him from cross-examining his accuser or talking to and then calling

witnesses to testify were clear due process violations, particularly since the

University’s decision rested largely on a credibility determination. Doe v. Baum, 903

F.3d 575, 585-86 (6th Cir. 2018).

      With respect to the Fifth Amendment claim, the Malesko decision cited by the

University does not entirely insulate it from liability. This Court has the power to

grant Doe his degree under the Mandamus and Venue Act, 28 U.S.C. §§ 1361, 1391,

which provides an avenue for relief when a law creating a duty (here the Fifth

Amendment) does not otherwise permit a private right of action. Judicial Watch,

Inc. v. Nat'l Energy Policy Dev. Group, 219 F.Supp.2d 20, 42 (D.D.C. 2002). A

mandamus action allows a court to remedy constitutional violations of government



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actors that are a result of a clear abuse of discretion. U. S. ex rel. Schonbrun v.

Commanding Officer, Armed Forces, 403 F.2d 371, 374 (2d Cir. 1968); Brown v.

Lynn, 385 F.Supp. 986 (N.D. Ill. 1974). This power includes compelling compliance

with the requirements of due process, notwithstanding the fact that the precise

elements of the duties required have not been prescribed Workman v. Mitchell, 502

F.2d 1200, 1205-06 (9th Cir. 1974).

      With respect to the University’s second argument, Doe alleges that its actions

during his disciplinary review were fairly attributable to the state or federal

government, entitling him to the due process protections provided for in the Fifth

and Fourteenth Amendments. The determination of when a private party acts

under color of state or federal law is inherently difficult and requires a fact-based

inquiry. Tarpley v. Keistler, 188 F.3d 788, 791 (7th Cir. 1999). Courts attribute the

action of a private actor to the government if there is a “sufficiently close nexus

between the [government] and the challenged action of the regulated entity so that

the action of the latter may be fairly treated as that of the [government] itself.”

Peoria School of Business, Inc. v. Accrediting Council for Continuing Educ. and

Training, 805 F.Supp. 579, 582 (N.D.Ill. 1992). The nexus exists when: (1) the

government either coerced the University’s actions or offered such encouragement

for those actions that it is responsible for them, or (2) the University exercises

powers that are traditionally the exclusive prerogative of government. Id. The

exclusive prerogative of the government includes acting in a judicial or quasi-

judicial function. M & H Tire Co., Inc. v. Hoosier Racing Tire Corp., 733 F.2d 973,



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983–84 (1st Cir. 1984) (because quasi-judicial powers are normally a public

function, “where private groups are permitted to exercise such public powers, they

may be required to afford fair and appropriate procedures.”); Brown v. McGarr, 583

F.Supp. 734, 736 (N.D. Ill. 1984), aff'd, 774 F.2d 777 (7th Cir. 1985) (“When an

individual's rights are being determined in a judicial or quasi-judicial proceeding,

due process requires that the individual be given notice and afforded an opportunity

to be heard.”).

      The complaint alleges that the federal government, through the Department

of Education, coerced the University to adopt the specific policies and procedures set

forth in the 2011 Letter and 2014 Guidance by threatening to cut off federal funding

for universities that did not comply. Cplt., ¶¶174-82. These procedures included

lowering of the burden of proof, denying the right to cross examination, minimizing

fact finding, and emphasizing speed of resolution over basic due process rights. Id.,

¶180. Indeed, affording an accused due process rights would be treated as evidence

of a hostile environment. Id., ¶182. The complaint then alleges that the University

adopted policies lowering the burden of proof, stripping away the right of cross

examination, and denying an accused the right to even talk to witnesses who might

support a defense, in direct response to the Department’s coercive threats to deprive

it of federal funding. Id., ¶185.

      Finally, the complaint alleges that the federal government has admitted that

its coercive tactics resulted in schools establishing “procedures for resolving

allegations that ‘lack the most basic elements of fairness and due process, are



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overwhelmingly stacked against the accused, and are in no way required by Title IX

or regulation …’” Id., ¶187. And it further admitted that its prior actions “led to the

deprivation of rights for many students.” Id., ¶188. Given the federal government’s

admission that it coerced universities into adopting policies that deprived students

of basic due process, Doe’s Fifth Amendment claim is clearly plausible.

      With respect to the Fourteenth Amendment, the Complaint alleges that the

state government, through its Preventing Sexual Violence in Higher Education Act,

gave the University’s disciplinary committee a quasi-judicial function and that it

was coerced into adopting the specific policies and procedures it used to wrongfully

find against Doe. Cplt., ¶¶183-86.

      PSVHEA mandates that an accused student participate in a complaint

resolution process. 110 ILCS 155/25. And by providing that the accused can only

refuse to testify in the presence of the other party, PSVHEA tacitly grants a

university the power to compel his testimony. 110 ILCS 155/25(b)(12). PSVHEA

then bars universities from granting students due process rights during the

mandated complaint resolution process by dictating the evidentiary standards and

applicable legal definitions, and barring procedural due process rights such as the

right to cross-examination. 110 ILCS 155/25(b)(5),(10); 110 ILCS 155/10(1). The

cumulative effect of these mandates is that PSVHEA has conferred on universities

quasi-judicial powers to determine students’ rights.

      PSVHEA also coerces universities into convicting students accused of sexual

assault absent proof of their wrongdoing. It repeatedly uses the term “survivor” to



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refer to the accuser in the regulations it directs universities to use. In so doing,

PSVHEA coerces universities to adopt policies and procedures that presuppose the

truth of sexual assault allegations. Those policies manifested themselves in the way

the University handled Doe’s hearing and the comments from university officials

such as Mr. Inabinet that the burden is on the accused.

      Thus, the complaint sufficiently alleges that the University’s actions were

coerced by the state of Illinois to support a claim under the Fourteenth Amendment.

IV.   Doe adequately pleads intentional infliction of emotional distress.

      A claim for intentional infliction of emotion distress requires allegations that:

(1) the defendant’s conduct was “extreme and outrageous;” (2) the defendant either

intended that his conduct inflict severe emotional distress or knew that there was

at least a high probability that his conduct would cause severe emotional distress;

and (3) the defendant’s conduct in fact caused severe emotional distress. Doe v.

Univ. of Chicago, 2017 WL 4163960, at *11 (N.D. Ill.). The University expelled Doe

days before graduation even though it knew that Roe’s allegations were false and

that there was “a high probability that being pursued by a false sexual-assault

complaint would cause John Doe severe emotional distress.” Id. at *12.

      Dated: February 15, 2019                 Respectfully submitted,

                                               /s/ Sean B. Crotty
                                               One of Plaintiff’s Attorneys




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Sean B. Crotty (ARDC# 6242730)
Eugene J. Schiltz (ARDC# 06181363)
Francis C. Wilkie (ARDC# 6321729)
Crotty & Schiltz, LLC
120 N. LaSalle St., Suite 2000
Chicago, Illinois 60602
(312) 444-1000
scrotty@crottylaw.com
gschiltz@crottylaw.com
fwilkie@crottylaw.com




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                           CERTIFICATE OF FILING

      I, Sean B. Crotty, an attorney, hereby certify that on February 15, 2019, I
caused the foregoing Plaintiff’s Brief in Opposition to Defendant University
of Chicago’s Motion to Dismiss to be electronically filed with the Clerk of the
United States District Court for the Northern District of Illinois, Eastern Division,
using the Court’s CM/ECF system.


                                                    /s/ Sean B. Crotty




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